Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 1 of 24 Page ID #:1




   1 ROBBINS GELLER RUDMAN
      & DOWD LLP
   2 DAVID    C. WALTON (167268)
     BRIAN E. COCHRAN (286202)
   3 655 West Broadway, Suite 1900
     San Diego, CA 92101
   4 Telephone: 619/231-1058
     619/231-7423 (fax)
   5 davew@rgrdlaw.com
     bcochran@rgrdlaw.com
   6
     Attorneys for Plaintiff
   7
     [Additional counsel on signature page.]
   8
                           UNITED STATES DISTRICT COURT
   9
                          CENTRAL DISTRICT OF CALIFORNIA
  10
     EDWARD A. BERG, Individually and ) Case No. 2:20-cv-06780
  11 on Behalf of All Others Similarly       )
     Situated,                               ) CLASS ACTION
  12                                         )
                              Plaintiff,     ) COMPLAINT FOR VIOLATIONS OF
  13                                         ) THE SECURITIES ACT OF 1933
            vs.                              )
  14                                         )
     VELOCITY FINANCIAL, INC.,               )
  15 CHRISTOPHER D. FARRAR, MARK )
     R. SZCZEPANIAK, CHRISTOPHER J. )
  16 OLTMANN, ALAN H. MANTEL, IAN )
     K. SNOW, JOHN A. PLESS,                 )
  17 BRANDON KISS, OGDEN PHIPPS, )
     DANIEL J. BALLEN, JOHN P.               )
  18 PITSTICK, JOY L. SCHAEFER,              )
     SNOW PHIPPS GROUP, LLC, WELLS )
  19 FARGO SECURITIES, LLC,                  )
     CITIGROUP GLOBAL MARKETS                )
  20 INC., JMP SECURITIES LLC and            )
     RAYMOND JAMES & ASSOCIATES, )
  21 INC.,                                   )
                                             )
  22                          Defendants. )
                                             ) DEMAND FOR JURY TRIAL
  23
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Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 2 of 24 Page ID #:2




   1        Plaintiff Edward A. Berg (“plaintiff”), individually and on behalf of all others
   2 similarly situated, alleges the following based upon personal knowledge as to
   3 plaintiff’s own acts and upon information and belief as to all other matters based on
   4 the investigation conducted by and through counsel, which included, among other
   5 things, a review of the public Securities and Exchange Commission (“SEC”) filings of
   6 Velocity Financial, Inc. f/k/a Velocity Financial, LLC (“Velocity” or the “Company”),
   7 press releases, analyst and media reports, and other public reports and information
   8 regarding the Company. Plaintiff believes that substantial additional evidentiary
   9 support exists for the allegations set forth herein, which evidence will be developed
  10 after a reasonable opportunity for discovery.
  11                           JURISDICTION AND VENUE
  12        1.     The claims alleged herein arise under §§11 and 15 of the Securities Act
  13 of 1933 (“ 1933 Act”) [15 U.S.C. §§77k and 77o]. This Court has jurisdiction over
  14 the subject matter of this action pursuant to §22 of the 1933 Act.
  15        2.     This Court has personal jurisdiction over each of defendants and venue is
  16 proper in this County. Velocity is headquartered in this District and defendants
  17 drafted the Registration Statement and Prospectus issued in connection with
  18 Velocity’s initial public offering (“IPO”) in part here, disseminated the misleading
  19 statements at issue here, and solicited stock purchasers here. The Underwriter
  20 Defendants (as defined below) also have substantial operations and/or conduct
  21 substantial business in California (directly or via agents), and represented Velocity
  22 and all or some of the other defendants in carrying out the IPO.
  23                            NATURE OF THE ACTION
  24        3.     This is a securities class action on behalf of all purchasers of Velocity
  25 common stock pursuant and/or traceable to the Registration Statement and Prospectus,
  26 as amended, issued in connection with Velocity’s January 2020 IPO (the “Offering
  27 Materials”), seeking to pursue remedies under the 1933 Act against Velocity, certain
  28 of its officers and directors (the “Individual Defendants”), Velocity’s private equity

                                              -1-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 3 of 24 Page ID #:3




   1 sponsor and controlling shareholder, and the underwriters of the IPO (“Underwriter
   2 Defendants”) (collectively “defendants”).
   3         4.    Velocity is a real estate finance company headquartered in Westlake
   4 Village, California, that originates and manages loans issued to borrowers nationwide
   5 to finance the purchase of small residential rental and commercial real estate
   6 investment properties. It also securitizes and sells some loans and holds others for
   7 investment purposes.       As of the IPO, most of the Company’s loans were
   8 geographically concentrated in California, New York, Florida and New Jersey.
   9 Defendants failed to disclose that at the time of the IPO the Company’s non-
  10 performing loans had dramatically increased in size from the figures provided in the
  11 Offering Materials, as measured by both the amount of unpaid principal balance and
  12 as a percentage of the Company’s overall loan portfolio. In addition, defendants
  13 failed to provide any information to investors regarding the potential impact of the
  14 novel coronavirus on Velocity’s business and operations, despite the fact that the
  15 international spread of the virus had already been confirmed at the time of the IPO.
  16 Instead, the Offering Materials contained generic warnings that market turmoil could
  17 eventually erupt and affect Velocity’s business and told investors that Velocity
  18 “operate[s] in a large and highly fragmented market with substantial demand for
  19 financing and limited supply of institutional financing alternatives.”
  20         5.    In fact, the Offering Materials described a halcyon real estate market and
  21 represented that the Company “ha[d] developed the highly-specialized skill set
  22 required to effectively compete in this market,” which supposedly “afforded [it] a
  23 durable business model capable of generating attractive risk-adjusted returns for [its]
  24 stockholders throughout various business cycles.” But this portrayal was materially
  25 misleading, because an increasing proportion of Velocity’s loans had entered non-
  26 accrual status (meaning that they were at least 90 days past due) and the Company
  27 was not uniquely well positioned to weather the brewing storm. At the time of the
  28 IPO, the unpaid principal amount of non-performing loans held on the Company’s

                                               -2-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 4 of 24 Page ID #:4




   1 balance sheet had nearly doubled year over year. In addition, the purported demand
   2 for Velocity’s loan originations was temporary and short-lived, as borrowers took
   3 advantage of declining interest rates as the coronavirus continued to spread. Indeed,
   4 the U.S. regions where Velocity had historically originated, and continued to
   5 originate, most of its loans were among the most vulnerable to – and ultimately the
   6 hardest hit by – the virus.
   7         6.    The failure to disclose the substantial and growing proportion of the
   8 Company’s loans that were non-performing and/or on non-accrual status as of the IPO
   9 rendered the statements contained in the Offering Materials regarding the quality of
  10 the Company’s loan portfolio and underwriting practices materially misleading.
  11 Moreover, the failure to disclose information concerning the onset of the coronavirus
  12 pandemic, or its actual and potential implications for the Company’s operational and
  13 financial condition and prospects, rendered the Offering Materials’ positive
  14 descriptions of the market, demand for investor loans for commercial real estate, and
  15 the Company’s business materially incomplete and misleading. These developments,
  16 risks and uncertainties, which existed at the time of the IPO but were not disclosed to
  17 investors in connection with the IPO, had a material adverse effect on Velocity’s
  18 business, operations, and financial results.
  19         7.    By May 15, 2020, Velocity stock closed at just $2.53 per share – more
  20 than 80% below the price investors paid for the stock in the IPO just four months
  21 previously. This action seeks to recover damages for Velocity investors.
  22                                       PARTIES
  23         8.    Plaintiff Edward A. Berg purchased Velocity common stock pursuant
  24 and/or traceable to the Offering Materials and has been damaged thereby.
  25         9.    Defendant Velocity Financial, Inc. is a real estate finance company
  26 headquartered in California that primarily originates and manages loans secured by
  27 one-to-four unit residential retail and small commercial properties. Before the IPO,
  28 Velocity was a limited liability company known as Velocity Financial, LLC.

                                               -3-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 5 of 24 Page ID #:5




   1 Immediately before completing the IPO, Velocity converted into a corporation with
   2 the same senior executives and several of the same directors, as well as two directors
   3 identified in the Offering Materials as director nominees. Velocity operates its
   4 business through subsidiaries and other associated entities, including Velocity
   5 Commercial Capital, LLC, which does business as Velocity Mortgage Capital.
   6        10.    Defendant Christopher D. Farrar was Velocity’s Chief Executive Officer
   7 (“CEO”) at the time of the IPO and became a director of the Company in connection
   8 with the IPO.
   9        11.    Defendant Mark R. Szczepaniak was Velocity’s Chief Financial Officer
  10 (“CFO”) at the time of the IPO.
  11        12.    Defendant Christopher J. Oltmann was Velocity’s Chief Accounting
  12 Officer (“CAO”) at the time of the IPO.
  13        13.    Defendant Alan H. Mantel was a member of Velocity’s pre-IPO Board of
  14 Managers. He was also a Partner at defendant Snow Phipps (defined below).
  15 Immediately before the IPO closed, he became Chairman of the Board of Directors
  16 when Velocity converted from a limited liability company to a corporation.
  17        14.    Defendant Ian K. Snow was a member of Velocity’s pre-IPO Board of
  18 Managers. He was also a co-founding Partner at defendant Snow Phipps and the
  19 managing member of the General Partner of the affiliated Snow Phipps funds that held
  20 its Velocity investment.
  21        15.    Defendant John A. Pless was a member of Velocity’s pre-IPO Board of
  22 Managers. He was also a Partner at defendant Snow Phipps. Immediately before the
  23 IPO closed, he became a member of the Board of Directors when Velocity converted
  24 from a limited liability company to a corporation.
  25        16.    Defendant Brandon Kiss was a member of Velocity’s pre-IPO Board of
  26 Managers. He was also a Managing Director at defendant Snow Phipps.
  27        17.    Defendant Ogden Phipps was a member of Velocity’s pre-IPO Board of
  28 Managers. He was also a co-founding Partner at defendant Snow Phipps.

                                              -4-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 6 of 24 Page ID #:6




   1        18.     Defendant Daniel J. Ballen was a member of Velocity’s pre-IPO Board
   2 of Managers. Immediately before the IPO closed, he became a member of the Board
   3 of Directors when Velocity converted from a limited liability company to a
   4 corporation.
   5        19.     Defendant John P. Pitstick (“Pitstick”) was identified in the Offering
   6 Materials as a person who would become a member of the Board of Directors when
   7 Velocity converted from a limited liability company to a corporation. He consented to
   8 be named in the Offering Materials as a person about to become a director.
   9        20.     Defendant Joy L. Schaefer (“Schaefer”) was identified in the Offering
  10 Materials as a person who would become a member of the Board of Directors when
  11 Velocity converted from a limited liability company to a corporation. She also
  12 previously served as an Operating Partner at defendant Snow Phipps. She consented
  13 to be named in the Offering Materials as a person about to become a director.
  14        21.     The defendants identified in ¶¶10-20 above are referred to herein as the
  15 “Individual Defendants. All of the Individual Defendants, other than defendants
  16 Pitstick and Schaefer (who were named as incoming directors) signed the Registration
  17 Statement for the IPO. Each of the Individual Defendants also reviewed and helped
  18 prepare the Offering Materials and, as directors and/or executive officers of the
  19 Company, participated in the solicitation and sale of the Company’s common stock to
  20 investors in the IPO for their own financial benefit and the financial benefit of
  21 Velocity.
  22        22.     Defendant Snow Phipps Group, LLC (“Snow Phipps”) is a private equity
  23 firm that specializes in mid-market control investments and takes an active role in
  24 managing its investments. Defendant Snow Phipps sponsored the IPO and was the
  25 controlling shareholder of Velocity immediately prior to the IPO, beneficially owning
  26 more than 60% of the Company’s shares through affiliated funds. Defendant Snow
  27 Phipps continued to be the Company’s largest shareholder after the IPO. Defendant
  28 Snow Phipps also cemented its control over the Company through various shareholder

                                               -5-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 7 of 24 Page ID #:7




   1 agreements and was entitled to nominate two directors to Velocity’s Board. As
   2 acknowledged in the Offering Materials, “the degree of control on our board of
   3 directors held by Snow Phipps . . . may be greater than their proportionate ownership
   4 of our common stock.”
   5         23.   Defendants Wells Fargo Securities, LLC, Citigroup Global Markets Inc.,
   6 JMP Securities, LLC and Raymond James & Associates, Inc. (the “Underwriter
   7 Defendants”) served as underwriters for the IPO. Collectively, they sold more than
   8 8.3 million Velocity shares in the IPO at $13 per share and shared over $7.5 million in
   9 underwriting discounts and commissions. Their failure to conduct adequate due
  10 diligence in connection with the IPO and the preparation of the Offering Materials
  11 was a substantial factor leading to the harm complained of herein.
  12                          SUBSTANTIVE ALLEGATIONS
  13 Velocity’s Business
  14         24.   Based in Westlake Village, California, Velocity is a real estate finance
  15 company that issues, manages, and securitizes loans used by borrowers to finance the
  16 purchase of investment properties – primarily single-family rental homes with one to
  17 four units and small commercial properties. It originates loans nationwide across a
  18 network of 3,000 independent mortgage brokers that refer borrowers who require
  19 financing to Velocity.
  20         25.   As a real estate lender, Velocity’s underwriting guidelines and practices
  21 are of the utmost importance to its business and financial performance. The Company
  22 portrayed itself to investors as a disciplined lender in the underserved niche market of
  23 small commercial properties and residential rental units.         Velocity’s portfolio
  24 contained an average loan balance of only $323,000 as of September 30, 2019. Many
  25 established real estate lenders focus on financing large real estate purchases because
  26 of the risks and complexities associated with lending to individual investors and small
  27 businesses. However, Velocity assured prospective shareholders that it implemented a
  28 hands-on, data-driven approach to provide effective due diligence in its underwriting

                                               -6-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 8 of 24 Page ID #:8




   1 processes, weed out potentially troublesome borrowers, and construct a high-quality
   2 loan portfolio to maximize potential yields.
   3         26.   In the lead up to the IPO, the Company rapidly expanded its loan
   4 portfolio. As of September 30, 2019, the Company claimed to have a total net loan
   5 portfolio worth $1.9 billion, an increase of $300 million over the preceding nine
   6 months and an increase of 90% over the Company’s $1 billion loan portfolio as of
   7 December 31, 2016. This allowed the Company to generate $113 million in interest
   8 income for the nine months ended September 30, 2019, with a healthy 8.82% portfolio
   9 yield. Importantly, Velocity had grown its loan portfolio while also consistently
  10 increasing its portfolio yield every year since 2016. Furthermore, Velocity non-
  11 performing loans had an unpaid principal balance of only $118 million, or just 6.13%
  12 of the Company’s overall portfolio. Velocity’s ability to continue to grow its loan
  13 portfolio and generate profitable, performing loans was critical to its future business
  14 and prospects.
  15         27.   The following charts adapted from the Offering Materials show the
  16 geographic dispersion and original amount of loans held for investment and sale as of
  17 September 30, 2019:
  18        Loans Held For Investment                     Loans Held For Sale
             As of September 30, 2019                   As of September 30, 2019
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                                               -7-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 9 of 24 Page ID #:9




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   8         28.    The Company’s primary product is a 30-year amortizing term loan with a

   9 three-year fixed-rate period, which floats at a spread to the prime rate thereafter
  10 (subject to a floor equal to the starting fixed rate), used to finance long-term real estate
  11 investments. Borrowers use this product to finance stabilized long-term real estate
  12 investments. In March 2017, the Company began originating short-term interest-only
  13 loans used for acquiring, repositioning or improving the quality of one-to-four unit
  14 residential investment properties. This product is an interim solution for borrowers
  15 and/or properties that do not meet the investment criteria of the Company’s primary
  16 30-year product.
  17         29.    Velocity also holds loans in its investment portfolio and securitizes and

  18 sells loans. As of September 30, 2019, one-to-four unit residential rental loans
  19 comprised 46.8% of the Company’s “held for” investment loan portfolio, with mixed-
  20 use and multi-family properties representing 13.7% and 11.1%, respectively (and no
  21 other category exceeding 10%). By geography, the principal balance of Velocity’s
  22 loans held for investment were concentrated 23.6% in New York, 22.2% in California,
  23 12.3% in Florida, and 8.2% in New Jersey.
  24         30.    By contrast, Velocity has historically aggregated and sold to institutional

  25 investors its short-term interest-only loans. During the nine months ended September
  26 30, 2019 and September 30, 2018, the Company originated $215.6 million and $89.4
  27 million of loans held for sale and sold $114.0 million and $28.1 million of loans held
  28 for sale, respectively. The Offering Materials stated that the Company was evaluating

                                                 -8-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 10 of 24 Page ID #:10




    1 long-term financing alternatives for such loans and might retain such loans in the
    2 future to earn a longer term spread.
    3 Velocity’s IPO
    4        31.    Velocity filed the Registration Statement on Form S-1 with the SEC on
    5 October 18, 2019. Following several amendments, the Registration Statement was
    6 declared effective by the SEC on January 16, 2020. On January 17, 2020, the
    7 Company filed its final Prospectus, dated January 16, 2020 (which incorporated and
    8 formed part of the final Registration Statement), with the SEC.
    9        32.    Together, the Offering Materials were used to sell over 8.3 million shares
   10 of Velocity common stock to the investing public (including the full exercise of the
   11 Underwriter Defendants’ over-allotment option) at a price of $13 per share, generating
   12 over $108 million in gross offering proceeds.
   13 The Materially Misleading Offering Materials
   14        33.    The Offering Materials were negligently prepared and, as a result,
   15 contained untrue statements of material fact, omitted material facts necessary to make
   16 the statements contained therein not misleading, and failed to make necessary
   17 disclosures required under the rules and regulations governing their preparation.
   18        34.    For example, the Offering Materials highlighted the Company’s
   19 purportedly “disciplined” underwriting policies and practices, which they claimed
   20 “differentiated” Velocity’s business from its competitors. They listed Velocity’s
   21 “Customized Technology and Proprietary Data Analytics,” which purportedly
   22 positioned Velocity “for sustainable, long-term growth” at the time of the IPO, as one
   23 of the Company’s key “Competitive Advantages.” The Offering Materials continued
   24 in pertinent part:
   25               Our underwriting approach focuses on generating attractive
   26        returns while minimizing credit losses and is enhanced by automation
   27        through the extensive use of customized systems to power automation
   28        and drive our use of data analytics. We apply the same disciplined due

                                                -9-
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 11 of 24 Page ID #:11




    1          diligence and underwriting process to all loans we review, regardless of
    2          whether they are originated or acquired. Our asset-driven underwriting
    3          philosophy encompasses property level due diligence, including lease
    4          and rent reviews, local market liquidity and trend assessment and a
    5          rigorous valuation process. In addition, we perform individual borrower
    6          diligence, including credit review, evaluation of experience and asset
    7          verification. We believe our extensive access to proprietary data gives
    8          us a differentiated perspective and underwriting ability.1
    9          35.   The Offering Materials emphasized the growth of the Company’s loan
   10 portfolio in the lead-up to the IPO and the consistent increase in the Company’s
   11 portfolio yield. The following chart of Velocity’s “key performance metrics” was
   12 provided in the Offering Materials:
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        (Footnotes omitted.)
   21
               36.   The Offering Materials also stated that Velocity’s total loan portfolio had
   22
        continued to increase in the fourth quarter of 2020 – the quarter immediately prior to
   23
        the IPO – and that, despite the Company’s rapid growth in loan originations, its non-
   24
        performing loans as a proportion of total loans had remained within a moderate range
   25
        during the quarter with a midpoint of just 6.7%. The Offering Materials stated in
   26
        pertinent part:
   27
        1
            Emphasis has been added unless otherwise noted.
   28

                                                - 10 -
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 12 of 24 Page ID #:12




    1         Estimates for the Year Ended December 31, 2019
    2                We expect to report total loan originations of at least $1,009.0
    3         million for the year ended December 31, 2019, compared to total loan
    4         originations of $737.3 million for the year ended December 31, 2018,
    5         and $554.7 million for the year ended December 31, 2017.
    6                We expect to report total loans, as measured by unpaid principal
    7         balance, of at least $2,055.0 million as of December 31, 2019,
    8         compared to total loans, as measured by unpaid principal balance, of
    9         $1,928.2 million as of September 30, 2019, and $1,631.3 million as of
   10         December 31, 2018.       We expect to report non-performing loans
   11         between 6.50% and 6.90% of total loans, as measured by unpaid
   12         principal balance, as of December 31, 2019, compared to non-
   13         performing loans of 6.13% as of September 30, 2019, and of 5.85% as of
   14         December 31, 2018. Non-performing loans includes all loans that are 90
   15         or more days past due, in bankruptcy or in foreclosure.
   16                We expect to report net income between $16.8 million and $18.6
   17         million for the year ended December 31, 2019, compared to net income
   18         of $10.5 million for the year ended December 31, 2018, and $14.0
   19         million for the year ended December 31, 2017.
   20         37.    The statements in ¶¶34-36 above were materially false and misleading
   21 because, as of the date of the IPO, a significantly higher proportion of Velocity’s total
   22 loan portfolio had become non-performing. Indeed, the unpaid principal amount of
   23 non-performing loans had approximately doubled year over year and was accelerating
   24 at the time of the IPO. Nearly 10% of Velocity’s entire loan portfolio was on track to
   25 enter non-accrual status within months of the IPO as the Company’s recent loan
   26 originations seasoned – with grave, adverse implications for the Company’s net
   27 income, earnings and portfolio yield. Notably, non-accrual occurs after 90 days of
   28 delinquency, meaning that the high proportion of non-accrual loans acknowledged

                                                - 11 -
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 13 of 24 Page ID #:13




    1 after the IPO had already entered delinquency as of the IPO. Furthermore, these
    2 adverse trends were the result of Velocity’s rapid growth in its loan portfolio prior to
    3 the IPO and deficiencies in the Company’s underwriting practices and procedures that
    4 existed at the time of the IPO. Although the rapid loan growth was highlighted to
    5 investors in the Offering Materials, defendants misleadingly failed to disclose the
    6 rapidly expanding proportion of these loans then entering non-accrual status and the
    7 adverse implications for the Company’s business and financial results.
    8         38.   In addition, the Offering Materials favorably described the Company’s
    9 market as of the IPO, stating that Velocity “operate[s] in a large and highly
   10 fragmented market with substantial demand for financing and limited supply of
   11 institutional financing alternatives.” They also represented that the Company “ha[d]
   12 developed the highly-specialized skill set required to effectively compete in this
   13 market,” claiming the Company had “a durable business model capable of generating
   14 attractive risk-adjusted returns for [its] stockholders throughout various business
   15 cycles.”
   16         39.   Under the heading “Our Market Opportunity,” the Offering Materials
   17 also favorably portrayed the market conditions facing the Company and Velocity’s
   18 unique ability to capitalize on these market conditions, stating in pertinent part:
   19               We believe that there is a substantial and durable market
   20         opportunity for investor real estate loans across 1-4 unit residential rental
   21         and small commercial properties, and that our institutionalized approach
   22         to serving these fragmented market segments underpins our long-term
   23         business strategy. Our growth to date has validated the need for scaled
   24         lenders with dedication to individual investors who own ten or fewer
   25         properties, a base which we believe represents the vast majority of
   26         activity across our core market.
   27         40.   Moreover, the Offering Materials relied in substantial part on outdated
   28 information in describing the condition of the residential and commercial real estate

                                                 - 12 -
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 14 of 24 Page ID #:14




    1 markets and industry demand. In a section entitled “1-4 Unit Residential Rental
    2 Properties,” for example, the Offering Materials presented “statistical and economic
    3 market data and industry forecasts and projections” derived from a market study,
    4 prepared in connection with the IPO, based on data available as of September 2019.
    5 Likewise, in a section entitled “Small Commercial Properties,” the Offering Materials
    6 presented information of a similar type also derived from a market study, prepared in
    7 connection with the IPO, based on data available as of September 2019.
    8         41.   By the effective date of the Offering Materials, however, the coronavirus
    9 was already quickly spreading around the world and invading the United States,
   10 threatening to disrupt the locations where Velocity maintained offices and had
   11 historically originated most of its loans. It was misleading for the Offering Materials
   12 to describe a robust market and strong demand for real estate investor loans when
   13 those conditions were evidently not realistic given the evolving nature of
   14 developments and circumstances arising from the fast-spreading coronavirus. Rather,
   15 those conditions were short-lived and temporary, and the coronavirus presented
   16 uncertainties and risks that rendered unreasonable the Offering Materials’
   17 representations that the Company’s operations were uniquely positioned to weather
   18 the worsening storm.
   19         42.   Yet the Offering Materials failed to disclose any information concerning
   20 the onset of the coronavirus, including whether the coronavirus was adversely
   21 impacting the real estate market or the Company’s business, operations or financial
   22 condition. Nor did the Offering Materials disclose how the coronavirus might
   23 adversely impact the real estate market or the Company. Instead, the Offering
   24 Materials contained generic risk warnings, applicable to any company operating in the
   25 real estate industry, that “conditions that negatively impact this market may reduce
   26 demand for our loans and may adversely impact our business, results of operations
   27 and financial condition” and, further, that “difficult conditions in the real estate
   28 markets, the financial markets and the economy generally may adversely impact our

                                               - 13 -
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 15 of 24 Page ID #:15




    1 business results of operations and financial condition.” This language did not
    2 adequately warn purchasers of common stock in connection with the IPO of the issues
    3 Velocity was then facing as a result of the coronavirus.
    4         43.   The undisclosed adverse facts and circumstances detailed above
    5 presented known trends, uncertainties and risks that required disclosure in the
    6 Offering Materials. Specifically, Item 303 of SEC Regulation S-K required the
    7 Company to disclose “any known trends or uncertainties that have had or that
    8 [Velocity] reasonably expects will have a material favorable or unfavorable impact on
    9 net sales or revenues or income from continuing operations.” Moreover, Item 105 of
   10 Regulation S-K required disclosure in the Offering Materials of “the most significant
   11 factors that ma[d]e an investment in [the IPO] speculative or risky,” and an
   12 explanation of “how the risk affect[ed] [Velocity] or the securities being offered.”
   13 The Offering Materials failed to disclose material facts necessary to apprise common
   14 stock purchasers of the true risks inherent in investing in the Company
   15         44.   These issues arose from circumstances existing before the IPO, which
   16 were known by defendants and were in fact quickly worsening at the time of the IPO
   17 the material adverse effects on the Company’s business and financial results, yet
   18 defendants fail to disclose them to investors until after the IPO.
   19         45.   On March 31, 2020, Velocity stated that it would delay the filing of its
   20 2019 annual report “due to the current economic environment, including
   21 circumstances related to the novel coronavirus (COVID-19) global outbreak.”
   22         46.   On April 6, 2020, Velocity announced that it had sold $45 million in
   23 preferred stock and warrants to its two largest shareholders, including defendant Snow
   24 Phipps, and amended the terms of its warehouse facilities in order to improve the
   25 Company’s balance sheet and liquidity profile, citing coronavirus as a factor that
   26 could materially and adversely affect its financial results.
   27         47.   On April 7, 2020, Velocity filed its 2019 annual report on Form 10-K,
   28 which belatedly provided extensive risk warnings and disclosures relating to the

                                               - 14 -
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 16 of 24 Page ID #:16




    1 coronavirus, including a description of uncertainties facing the business. These risks
    2 should have been provided to investors in the Offering Materials but were not.
    3         48.    On April 8, 2020, Velocity issued a release providing the Company’s
    4 financial and operational results for the fourth quarter and full year 2019. The release
    5 stated that the Company had suspended all loan origination operations due to market
    6 volatility. Velocity also stated that it was experiencing enhanced delinquencies in its
    7 loan portfolio and had implemented various strategies to attempt to “‘address this
    8 challenge.’” In presentation materials accompanying the results, Velocity also stated
    9 that its non-performing loans had increased 20% during the quarter to 6.88% of the
   10 Company’s total loan portfolio, at the top of the range provided in the Offering
   11 Materials. The Company further stated that even “[h]igher delinquencies are expected
   12 from the COVID-19 pandemic.”
   13         49.    On May 13, 2020, Velocity issued a release and investor presentation and
   14 held an earnings call providing the Company’s financial and operational results for the
   15 first quarter of 2020 – the same quarter in which the IPO was conducted. The
   16 Company stated that its net income decreased 50% sequentially during the quarter to
   17 just $2.6 million.      The Company also confirmed that the suspension of loan
   18 originations would continue for an indeterminate length of time, effectively halting all
   19 potential growth in the Company’s loan portfolio. In addition, the Company stated
   20 that its proportion of non-performing loans had accelerated to $174 million, nearly
   21 double the unpaid principal amount year over year, and constituted 8.17% of the
   22 Company’s total portfolio, 252 basis points over the prior year. Velocity’s portfolio
   23 yield also fell 32 basis points sequentially to 8.57% due in substantial part to the rising
   24 number of non-performing loans.
   25         50.    During the earnings call to discuss the results, Velocity executives further
   26 stated that the proportion of non-performing loans had continued to substantially
   27 increase and stood at a staggering 9.9% of the Company’s total portfolio by the end of
   28 April 2020. Management also confirmed that these adverse results were known and

                                                 - 15 -
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 17 of 24 Page ID #:17




    1 expected as of the IPO, which they characterized as largely due to ordinary portfolio
    2 “seasoning” above and beyond any effects of the COVID-19 pandemic, even though
    3 they were not disclosed in the Offering Materials. The Company also increased its
    4 loan loss reserve by more than 50%, largely due to expected losses from the COVID-
    5 19 pandemic, indicating that the adverse trends and significant loan deterioration were
    6 likely to continue.
    7         51.   Velocity’s stock price declined significantly subsequent to the IPO. By
    8 May 15, 2020, Velocity stock closed at just $2.53 per share – more than 80% below
    9 the price investors paid for Velocity shares in the IPO just four months previously.
   10                          CLASS ACTION ALLEGATIONS
   11         52.   Plaintiff brings this action as a class action on behalf of all purchasers of
   12 Velocity common stock pursuant and/or traceable to the Offering Materials (the
   13 “Class”). Excluded from the Class are defendants and their families; the officers,
   14 directors and affiliates of defendants and members of their immediate families; the
   15 legal representatives, heirs, successors or assigns of any of the foregoing; and any
   16 entity in which any defendant has or had a controlling interest.
   17         53.   The members of the Class are so numerous that joinder is impracticable.
   18 Velocity common stock is actively traded on the NYSE and millions of shares were
   19 sold in the IPO. While the exact number of Class members is unknown to plaintiff at
   20 this time and can only be ascertained through discovery, plaintiff believes there are
   21 hundreds, if not thousands, of members in the Class. Record owners and other Class
   22 members may be identified from records procured from or maintained by the
   23 Company or its transfer agent and may be notified of the pendency of this action using
   24 a form of notice similar to that customarily used in securities class actions.
   25         54.   Common questions of law and fact exist as to all Class members and
   26 predominate over any questions solely affecting individual Class members, including:
   27               (a)     whether defendants violated the 1933 Act, as alleged herein;
   28

                                                - 16 -
Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 18 of 24 Page ID #:18




    1                (b)    whether the Offering Materials misrepresented and/or omitted
    2 material information in violation of the 1933 Act; and
    3                (c)    whether and to what extent Class members have sustained
    4 damages, as well as the proper measure of damages.
    5         55.    Plaintiff’s claims are typical of the claims of the Class, as all Class
    6 members were similarly affected by defendants’ conduct.
    7         56.    Plaintiff will fairly and adequately protect the interests of Class members
    8 and has retained counsel competent and experienced in securities class actions.
    9         57.    A class action is superior to all other available methods for the fair and
   10 efficient adjudication of this controversy. Because the damages suffered by individual
   11 Class members may be relatively small, the expense and burden of individual
   12 litigation make it exceedingly difficult, if not impossible and impracticable, for Class
   13 members to individually redress the wrongs alleged. There will be no difficulty in
   14 managing this action as a class action.
   15                                          COUNT I
   16                           For Violation of §11 of the 1933 Act
                                      Against All Defendants
   17
              58.    Plaintiff repeats, incorporates, and realleges each and every allegation set
   18
        forth above as if fully set forth herein.
   19
              59.    This Count is brought under §11 of the 1933 Act [15 U.S.C. §77k], on
   20
        behalf of the Class, against all defendants. This Count does not allege, and does not
   21
        intend to allege, fraud or fraudulent intent, which is not a required element of §11, and
   22
        any implication of fraud or fraudulent intent is hereby expressly disclaimed.
   23
              60.    The Registration Statement for the IPO, which was incorporated in and
   24
        formed part of the Offering Materials, contained inaccurate and misleading statements
   25
        of material fact, omitted facts necessary to render statements therein non-misleading,
   26
        and omitted to state material facts required to be stated therein.
   27
   28

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Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 19 of 24 Page ID #:19




    1         61.    Velocity is the registrant for the IPO. Defendants were responsible for
    2 the contents and dissemination of the Offering Materials. Defendant Snow Phipps
    3 was the controlling shareholder and private equity sponsor of Velocity at the time of
    4 the IPO.      The Individual Defendants signed or authorized the signing of the
    5 Registration Statement and/or were designated as director-nominees, including by
    6 defendant Snow Phipps. The Underwriter Defendants marketed and underwrote the
    7 IPO and sold stock to plaintiff and the Class.
    8         62.    As the issuer of the shares, Velocity is strictly liable to plaintiff and the
    9 Class for the Registration Statement’s material misstatements and omissions.
   10 Signatories of the Registration Statement, and possibly other defendants, may also be
   11 strictly liable to plaintiff and the Class for such material misstatements and omissions.
   12 None of the defendants made a reasonable investigation or possessed reasonable
   13 grounds to believe that the statements in the Registration Statement were complete,
   14 accurate or non-misleading.
   15         63.    By reason of the conduct alleged herein, defendants violated §11 of the
   16 1933 Act. Plaintiff and the Class members purchased common stock pursuant and/or
   17 traceable to the Registration Statement and have sustained damages as a result. The
   18 value of the stock has declined substantially subsequent and due to defendants’
   19 violations. At the time of their purchases, plaintiff and other members of the Class
   20 were without knowledge of the facts concerning the wrongful conduct alleged herein.
   21         64.    Less than one year has elapsed from the time that plaintiff discovered, or
   22 reasonably could have discovered, the facts upon which these claims are based to the
   23 time that plaintiff filed this action. Less than three years has elapsed between the time
   24 that the securities upon which this Count is brought were offered to the public and the
   25 time plaintiff filed this action.
   26
   27
   28

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Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 20 of 24 Page ID #:20




    1                                         COUNT II
    2                        For Violation of §15 of the 1933 Act
                 Against Velocity, the Individual Defendants and Snow Phipps
    3
              65.     Plaintiff repeats, incorporates, and realleges each and every allegation set
    4
        forth above as if fully set forth herein.
    5
              66.     This Count is brought under §15 of the 1933 Act [15 U.S.C. §77o],
    6
        against Velocity, the Individual Defendants and Snow Phipps. This Count does not
    7
        allege, and does not intend to allege, fraud or fraudulent intent, which is not a required
    8
        element of §15, and any implication of fraud or fraudulent intent is hereby expressly
    9
        disclaimed.
   10
              67.     As detailed herein, each of defendants committed primary violations of
   11
        the 1933 Act by committing conduct in contravention of §11 of the 1933 Act.
   12
              68.     The Individual Defendants were each control persons of Velocity by
   13
        virtue of their positions as directors, senior officers and/or significant shareholders of
   14
        the Company.      They each had direct and/or indirect business and/or personal
   15
        relationships with other directors, officers and/or major shareholders of the Company.
   16
        The Company also controlled the Individual Defendants, given the influence and
   17
        control the Company possessed and exerted over the Individual Defendants and all of
   18
        its employees.
   19
              69.     Defendant Snow Phipps was the controlling shareholder of the Company
   20
        at the time of the IPO and sponsored the IPO. Immediately prior to the IPO, Snow
   21
        Phipps beneficially owned a majority of Velocity’s stock and entered into shareholder
   22
        agreements with Velocity in order to cement and expand its control over the
   23
        Company. In addition, Snow Phipps possessed the ability to nominate two directors
   24
        to the Velocity Board and controlled the actions of the Individual Defendants
   25
        affiliated with Snow Phipps, including the managers and directors of Velocity
   26
        appointed by Snow Phipps to do its bidding on the Board.
   27
   28

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Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 21 of 24 Page ID #:21




    1         70.    By reason of the conduct alleged herein, these defendants violated §15 of
    2 the 1933 Act, and plaintiff and the Class have suffered harm as a result.
    3                                PRAYER FOR RELIEF
    4         WHEREFORE, plaintiff, individually and on behalf of the proposed Class,
    5 respectfully prays for judgment against defendants as follows:
    6         A.     Determining that this action is a proper class action, designating plaintiff
    7 as Lead Plaintiff and certifying plaintiff as a class representative under Rule 23 of the
    8 Federal Rules of Civil Procedure and plaintiff’s counsel as Lead Counsel;
    9         B.     Awarding plaintiff and the Class compensatory damages against all
   10 defendants, jointly and severally, for all damages sustained as a result of defendants’
   11 wrongdoing, in an amount to be proven at trial, together with prejudgment interest
   12 thereon;
   13         C.     Awarding plaintiff and the Class their reasonable costs and expenses
   14 incurred in this action, including, but not limited to, attorneys’ fees and costs incurred
   15 by consulting and testifying expert witnesses; and
   16         D.     Granting such other, further and/or different relief as the Court deems
   17 just and proper.
   18                                     JURY DEMAND
   19         Plaintiff hereby demands a trial by jury.
   20 DATED: July 29, 2020                        ROBBINS GELLER RUDMAN
                                                   & DOWD LLP
   21                                             DAVID C. WALTON
                                                  BRIAN E. COCHRAN
   22
   23                                                         s/Brian E. Cochran
   24                                                        BRIAN E. COCHRAN
   25                                             655 West Broadway, Suite 1900
                                                  San Diego, CA 92101
   26                                             Telephone: 619/231-1058
                                                  619/231-7423 (fax)
   27                                             davew@rgrdlaw.com
                                                  bcochran@rgrdlaw.com
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Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 22 of 24 Page ID #:22




    1
                                           ROBBINS GELLER RUDMAN
    2                                        & DOWD LLP
                                           SAMUEL H. RUDMAN
    3                                      JOSEPH RUSSELLO
                                           58 South Service Road, Suite 200
    4                                      Melville, NY 11747
                                           Telephone: 631/367-7100
    5                                      631/367-1173 (fax)
                                           srudman@rgrdlaw.com
    6                                      jrussello@rgrdlaw.com
    7                                       BRONSTEIN, GEWIRTZ &
                                             GROSSMAN, LLP
    8                                       PERETZ BRONSTEIN
                                            60 East 42nd Street, Suite 4600
    9                                       New York, New York 10165
                                            Telephone: 212/697-6484
   10                                       212/697-7296 (fax)
                                            peretz@bgandg.com
   11
                                            Attorneys for Plaintiff
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          Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 23 of 24 Page ID #:23




                                      CERTIFICATION OF NAMED PLAINTIFF
                                    PURSUANT TO FEDERAL SECURITIES LAWS

                     EDWARD A. BERG (“Plaintiff”) declares:
                     1.      Plaintiff has reviewed a complaint and authorized its filing.
                     2.      Plaintiff did not acquire the security that is the subject of this action at
            the direction of plaintiff’s counsel or in order to participate in this private action or
            any other litigation under the federal securities laws.
                     3.      Plaintiff is willing to serve as a representative party on behalf of the
            class, including providing testimony at deposition and trial, if necessary.
                     4.      Plaintiff has made the following transaction(s) during the Class Period in
            the securities that are the subject of this action:
            Security                     Transaction                 Date            Price Per Share

                                                    See attached Schedule A.

                     5.      Plaintiff has not sought to serve or served as a representative party in
            a class action that was filed under the federal securities laws within the three-year
            period prior to the date of this Certification except as detailed below:
                                                             None.
                     6.      Plaintiff will not accept any payment for serving as a representative
            party on behalf of the class beyond the Plaintiff’s pro rata share of any recovery,
            except such reasonable costs and expenses (including lost wages) directly relating
            to the representation of the class as ordered or approved by the court.
                     I declare under penalty of perjury that the foregoing is true and correct.
                               29
            Executed this _____ day of July, 2020.


                                                                            EDWARD A. BERG



                                                                                         VELOCITY FINANCIAL
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          Case 2:20-cv-06780-RGK-PLA Document 1 Filed 07/29/20 Page 24 of 24 Page ID #:24


                                                             SCHEDULE A

                                                  SECURITIES TRANSACTIONS

                                      Stock

                                      Date                       Amount of
                                    Acquired                   Shares Acquired   Price

                                   01/17/2020                       200          $13.97
                                   02/28/2020                       300          $12.97
                                   03/05/2020                       500          $12.72
                                   04/03/2020                       500          $2.40

        Prices listed are rounded to two decimal places.
